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                                                     L.B.F. 3015.1

                                     UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA

 In re: Homer R. Daney                                  Chapter          13

                                                        Case No.         22 -13306 -pmm

                        Debtor(s)
                                                Chapter 13 Plan

                  Original
                X Third           Amended

 Date:         December 5, 2023

                                     THE DEBTOR HAS FILED FOR RELIEF UNDER
                                      CHAPTER 13 OF THE BANKRUPTCY CODE

                                         YOUR RIGHTS WILL BE AFFECTED

 You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
 contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
 actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
 them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
 MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
 This Plan may be confirmed and become binding, unless a written objection is filed.

                       IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                       MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                    NOTICE OF MEETING OF CREDITORS.




               Plan contains non-standard or additional provisions see Part 9
         ¯

                                                                   -




               Plan limits the amount of secured claim(s) based on value of collateral   -
                                                                                             see Part 4
               Plan avoids a security interest or lien see Part 4 and/or Part 9
                                                    -




             § 2(a) Plan payments (For Initial and Amended Plans):

               Total Length of Plan: 60          months.

               Total Base Amount to be paid to the Chapter 13 Trustee ("Trustee") $ 67,958.42
               Debtor shall pay the Trustee $____________ per month for_____ months and then
                Debtor shall pay the Trustee $___________ per month for the remaining       months;
                                                           or
               Debtor shall have already paid the Trustee $ 8560.00      through month number 11 and
                                                            _
               then shall pay the Trustee $1213.00                       per month for the remaining 49
               TTiThiliT

                   Other changes in the scheduled plan payment are set forth in    2(d)
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      § 2(b) Debtor shall make plan payments to the Trustee from the following sources in
 addition to future wages (Describe source, amount and date when funds are available, if known):



     § 2(c) Alternative treatment of secured claims:
        IX None. If 'None" is checked, the rest of 2(c) need not be completed.

         1 Sale of real property
              See § 7(c) below for detailed description

        D      Loan modification with respect to mortgage encumbering property:
              See § 4(t) below for detailed description

     § 2(d) Other information that may be important relating to the payment and length of Plan:


     § 2(e) Estimated Distribution:
        A. Total Priority Claims (Part 3)
               1.   Unpaid attorney's fees                             $        3,888.00

               2.   Unpaid attorney's costs                            $_________
               3.   Other priority claims (e.g., priority taxes)       $           36.11
         B.              Total distribution to cure defaults ( 4(b))   $       55,796.47


                                                                       _
        C. Total distribution on secured claims (4(c) &(d))            $__________________
         D. Total distribution on general unsecured claims(Part 5) $            1,442.00
                                               Subtotal                $ 61,162.58
                                                                           _
         E.              Estimated Trustee's Commission                $
         F.              Base Amount                                   $ 67,958.42




     §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

      LX By checking this box, Debtor's counsel certifies that the information contained in
 Counsel's Disclosure of Compensation [Form B2030] is accurate, qualifies counsel to receive
 compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel's
 compensation in the total amount of $ 4725.00        ,with the Trustee distributing to counsel the
                                                       _
 amount stated in §2(e)A.1. of the Plan. Confirmation of the plan shall constitute allowance of the
 requested compensation.
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      § 4(a) Secured Claims Receiving No Distribution from the Trustee:
        [X None. If "None" is checked, the rest of § 4(a) need not be completed.
  Creditor                                                         Claim      Secured Property
                                                                             Number
  fl If checked, the creditor(s) listed below will receive no distribution
  from the trustee and the parties' rights will be governed by agreement
  of the parties and applicable nonbankruptcy law.




  D If checked, the creditor(s) listed below will receive no distribution
  from the trustee and the parties' rights will be governed by agreement
  of the parties and applicable nonbankruptcy law.




        § 4(b) Curing default and maintaining payments
         j   None. If "None" is checked, the rest of § 4(b) need not be completed.


      The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and,
   Debtor shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance
   with the parties' contract.

    Creditor                               Claim Number         Description of Secured           Amount to be Paid by
                                                                Property and Address, if         Trustee
                                                                real property



   lie Bank of New York Mellon Trust              4            510 Nazareth Pike, Nazareth, PA   $55,796.47
  Company, NA




                                                                   4
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       § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre                                                                                  -




 confirmation determination of the amount, extent or validity of the claim
       [X None. If 'None" is checked, the rest of § 4(c) need not be completed.


         (1) Allowed secured claims listed below shall be paid in full and their liens retained untilcompletion
 of payments under the plan.

            (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
 determine the amount, extent or validity of the allowed secured claim and the court will make its determination
 prior to the confirmation hearing.

         (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
 unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, asdetermined by the court.

           (4) In addition to payment of the allowed secured claim, "present value" interest pursuant to ii u.s.c.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant inclUded a different
 interest rate or amount for "present value" interest in its proof of claim or otherwise disputes the amount provided for
 "present value" interest, the claimant must file an objection to confirmation.

          (5) upon completion of the Plan, payments made under this section satisfy the allowed secured claim and
 release the corresponding lien.

                                       Claim                        Description of               Allowed     Present                      Dollar                         Amount to
  Name of Creditor                     Number                       Secured                      Secured     Value                        Amount of                      be Paid by
                                                                    Property                     Claim       Interest                     Present                        Trustee
                                                                                                             Rate                         Value
                                                                                                                                          Interest




       § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
      1X None. If "None" is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase
 money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1
 year of the petition date and secured by a purchase money security interest in any other thing of value.

        (1) The allowed secured claims listed below shall be paid in full and their liens retained untilcompletion of
 payments under the plan.

          (2) In addition to payment of the allowed secured claim, "present value" interest pursuant to ii u.s.c.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different interest
 rate or amount for "present value" interest in its proof of claim, the court will determine the present value interest
 rate and amount at the confirmation hearing.

                                       Claim                        Description of               Allowed   Present                      Dollar Amount                    Amount to
  Name of Creditor                     Number                       Secured                      Secured   Value                        of Present                       be Paid by
                                                                    Property                     Claim     Interest                     Value Interest                   Trustee
                                                                                                           Rate
                                                                                     _________
                                                                                                                      _______________
                                                                                                                                                         _____________
                            ________
                                                _________________
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                        § 4(e) Surrender
                         IX None. If 'None" is checked, the rest of 4(e) need not be completed.

             (1) Debtor elects to surrender the secured property listed below that secures the creditor's claim.
             (2) The automatic stay under 11 U.S.C. § 362(a) and 1301 (a) with respect to the secured property
 terminates upon confirmation of the Plan.
             (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

                    Creditor                                               Claim Number                          Secured Property




                        § 4(f) Loan Modification
                          0
                               None, If   None                 is checked, the rest of                    4(f) need not be completed.
                           (1) Debtor shall pursue a loan modification directly with                        or its successor in interest or
                    its current servicer ("Mortgage Lender"), in an effort to bring the loan current and resolve the secured arrearage
                    claim
                           (2) If the modification is not approved by                (date), Debtor shall either (A) fi!e an amended
                    Plan to otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seekrelief
                    from the automatic stay with regard to the collateral and Debtor will not oppose it.




                        § 5(a) Separately classified allowed unsecured non -priority claims
                          0    None. If "None" is checked, the rest of § 5(a) need not be completed.

                                                                                                Basis for Separate
                    Creditor                               Claim Number                         Classification                              Treatment   Amount to be
                                                                                                                                                        Paid by Trustee
                                          ______________
                                                                            _________________
                                                                                                                     ____________________
  _______________
                        § 5(b) Timely filed unsecured non -priority claims
            (1) Liquidation Test (check one box)
                o All Debtor(s) property is claimed as exempt.
                E( Debtor(s) has non-exempt property valued at $1478.11 for purposes of 1325(a)(4) and plan
 provides for distribution of $1478.11             to allowed priority and unsecured general creditors.

                                (2) Funding: § 5(b) claims to be paid as follows (check one box):
                                  OX Prorata
                                  0100%
                                  o Other
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       LX None. If "None" is checked, the rest of § 6 need not be completed.

  Creditor                        Claim Number       Nature of              Treatment by Debtor Pursuant to §365(b)
                                                     Contract or
                                                     Lease




      § 7(a) General principles applicable to the Plan
          (1) Vesting of Property of the Estate (check one box)
                   EX Upon
    rmation

                       Upon discharge

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor's claim listed inits
 proof of claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan..

          (3) Post -petition contractual payments under § 1 322(b)(5) and adequate protection payments under §
 1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements tocreditors
 shall be made by the Trustee.

          (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
 the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
 be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
 creditors, or as agreed by the Debtor and the Trustee and approved by the court.

     § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor's
 principal residence

         (1) Apply the payments received from the Trustee on the pre -petition arrearage, if any, only to such
 arrearage.

          (2) Apply the post -petition monthly mortgage payments made by the Debtor to the post-petition mortgage
 obligations as provided for by the terms of the underlying mortgage note.

          (3) Treat the pre -petition arrearage as contractually current upon confirmation for the Plan for the sole
 purpose of precluding the imposition of late payment charges or other default-related fees and services based on
 the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
 terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor's property sent regular statements to the
 Debtor pre -petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder
 of the claims shall resume sending customary monthly statements.

          (5) If a secured creditor with a security interest in the Debtor's property provided the Debtor with coupon
 books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
 book(s) to the Debtor after this case has been filed.

          (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as
 set forth above.
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      § 7(c) Sale of Real Property
        IX None. If "None" is checked, the rest of § 7(c) need not be completed.

         (1) Closing for the sale of                                  (the "Real Property") shall be completed
  within     months of the commencement of this bankruptcy case (the "Sale Deadline"). Unless otherwise
  agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paidin
  full under4(b)(1) ofthe Plan atthe closing ("Closing Date").

          (2) The Real Property will be marketed for sale in the following manner and on the following terms:




          (3) Confirmation of this Plan shall constitute an order authorizing the
                                                                                   D4tor  to pay at settlement all
  customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
  convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
  seeking court approval of the sale pursuant to 11 U.S.C. §363, either prior to or after confirmation of the Plan, if,
  in the Debtor's judgment, such approval is necessary or in order to convey insurable title or is otherwise
  reasonably necessary under the circumstances to implement this Plan.

         (4) At the Closing, it is estimated that the amount of no less than $                   shall be made
  payable to the Trustee.

         (5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours ofthe
  Closing Date.

         (6) In the event that a sale of the Real Property has not been consummaed by the expiration of the Sale
  Deadline:




 The order of distribution of Plan payments will be as follows:

       Level 1: Trustee Commissions*
       Level 2: Domestic Support Obligations
       Level 3: Adequate Protection Payments
       Level 4: Debtor's attorney's fees
       Level 5: Priority claims, pro rata
       Level 6: Secured claims, pro rata
       Level 7: Specially classified unsecured claims
       Level 8: General unsecured claims
       Level 9: Untimely filed general unsecured non -priority claims to which debtdr has not objected

 *percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
 not to exceed ten (10) percent.
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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

        IN RE: HOMER R. DANEY                         :       CASE NO.: 22 -13306 -pmm


                                         Debtor       :       CHAPTER 13

                                     CERTIFICATE OF SERVICE

         I, John R. K. Solt, Esquire, attorney for Debtor, do hereby certify that on December 5,
 2023, I served a copy of the Debtor's Third Amended Chapter 13 Plan (Doc 59) upon the
 following individuals and entities at the addresses listed below by electronic mail through the
 CM/ECF system, and by first class mail on the creditors on the attached mailing list:

 United States Trustee USTPRegion03.PH.ECFusdoj.gov
                        -




 SCOTT F. WATERMAN- ECFMail(ReadingCh13.com

 Michael Patrick Farrington mfarringtonkmllawgroup.com
                               -




  for the Bank of New York Mellon Trust Company, NA

 Brian Craig Nicholas   -
                            bnicholas(kmllawgroup.com

  for the Bank of New York Mellon Trust Company, NA




                                                  JOHN R. K. SOLT, P.C.

                                                    By: Is! John R. K. Solt
                                                   JOHN R. K. SOLT, ESQUIRE
                                                   I.D. No. 24686
                                                   2045 Westgate Drive, Suite 404B
                                                   Bethlehem, PA 18017
                                                  Phone: (610) 865-2465
                                                  Facsimile: (610) 691-2018
                                                  jsolt.soltlaw@rcn.com
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 Pennsylvania Dept. of Revenue
 Bankruptcy Division
 P.O. Box 65250
 Harrisburg, PA 17128-0946
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                                     UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF PENNSYLVANIA

 In re: Homer R. Daney                                  Chapter          13

                                                        Case No.         22 -13306 -pmm

                        Debtor(s)
                                                 Chapter 13 Plan

                  Original
                X Third           Amended

 Date:         December 5, 2023

                                     THE DEBTOR HAS FILED FOR RELIEF UNDER
                                      CHAPTER 13 OF THE BANKRUPTCY CODE

                                         YOUR RIGHTS WILL BE AFFECTED

 You should have received from the court a separate Notice of the Hearing on Confirmation of Plan, which
 contains the date of the confirmation hearing on the Plan proposed by the Debtor. This document is the
 actual Plan proposed by the Debtor to adjust debts. You should read these papers carefully and discuss
 them with your attorney. ANYONE WHO WISHES TO OPPOSE ANY PROVISION OF THIS PLAN
 MUST FILE A WRITTEN OBJECTION in accordance with Bankruptcy Rule 3015 and Local Rule 3015-4.
 This Plan may be confirmed and become binding, unless a written objection is filed.

                       IN ORDER TO RECEIVE A DISTRIBUTION UNDER THE PLAN, YOU
                       MUST FILE A PROOF OF CLAIM BY THE DEADLINE STATED IN THE
                                    NOTICE OF MEETING OF CREDITORS.




               Plan contains non-standard or additional provisions see Part 9
         ¯

                                                                   -




               Plan limits the amount of secured claim(s) based on value of collateral   -
                                                                                             see Part 4
               Plan avoids a security interest or lien see Part 4 and/or Part 9
                                                    -




             § 2(a) Plan payments (For Initial and Amended Plans):

               Total Length of Plan: 60           months.

               Total Base Amount to be paid to the Chapter 13 Trustee ("Trustee") $ 67,958.42
               Debtor shall pay the Trustee $____________ per month for_____ months and then
                Debtor shall pay the Trustee $___________ per month for the remaining       months;
                                                            or
               Debtor shall have already paid the Trustee $ 8560.00      through month number 11 and
                                                             _
               then shall pay the Trustee $1213.00                       per month for the remaining 49
               TTiThiliT

                   Other changes in the scheduled plan payment are set forth in    2(d)
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      § 2(b) Debtor shall make plan payments to the Trustee from the following sources in
 addition to future wages (Describe source, amount and date when funds are available, if known):



     § 2(c) Alternative treatment of secured claims:
        IX None. If 'None" is checked, the rest of 2(c) need not be completed.

         1 Sale of real property
              See § 7(c) below for detailed description

        D      Loan modification with respect to mortgage encumbering property:
              See § 4(t) below for detailed description

     § 2(d) Other information that may be important relating to the payment and length of Plan:


     § 2(e) Estimated Distribution:
        A. Total Priority Claims (Part 3)
               1.   Unpaid attorney's fees                             $        3,888.00

               2.   Unpaid attorney's costs                            $_________
               3.   Other priority claims (e.g., priority taxes)       $           36.11
         B.              Total distribution to cure defaults ( 4(b))   $       55,796.47


                                                                       _
        C. Total distribution on secured claims (4(c) &(d))            $__________________
         D. Total distribution on general unsecured claims(Part 5) $            1,442.00
                                               Subtotal                $ 61,162.58
                                                                           _
         E.              Estimated Trustee's Commission                $
         F.              Base Amount                                   $ 67,958.42




     §2 (f) Allowance of Compensation Pursuant to L.B.R. 2016-3(a)(2)

      LX By checking this box, Debtor's counsel certifies that the information contained in
 Counsel's Disclosure of Compensation [Form B2030] is accurate, qualifies counsel to receive
 compensation pursuant to L.B.R. 2016-3(a)(2), and requests this Court approve counsel's
 compensation in the total amount of $ 4725.00        ,with the Trustee distributing to counsel the
                                                       _
 amount stated in §2(e)A.1. of the Plan. Confirmation of the plan shall constitute allowance of the
 requested compensation.
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      § 4(a) Secured Claims Receiving No Distribution from the Trustee:
        [X None. If "None" is checked, the rest of § 4(a) need not be completed.
  Creditor                                                         Claim      Secured Property
                                                                             Number
  fl If checked, the creditor(s) listed below will receive no distribution
  from the trustee and the parties' rights will be governed by agreement
  of the parties and applicable nonbankruptcy law.




  D If checked, the creditor(s) listed below will receive no distribution
  from the trustee and the parties' rights will be governed by agreement
  of the parties and applicable nonbankruptcy law.




        § 4(b) Curing default and maintaining payments
         j   None. If "None" is checked, the rest of § 4(b) need not be completed.


      The Trustee shall distribute an amount sufficient to pay allowed claims for prepetition arrearages; and,
   Debtor shall pay directly to creditor monthly obligations falling due after the bankruptcy filing in accordance
   with the parties' contract.

    Creditor                               Claim Number         Description of Secured           Amount to be Paid by
                                                                Property and Address, if         Trustee
                                                                real property



   lie Bank of New York Mellon Trust              4            510 Nazareth Pike, Nazareth, PA   $55,796.47
  Company, NA




                                                                   4
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       § 4(c) Allowed secured claims to be paid in full: based on proof of claim or pre                                                                                  -




 confirmation determination of the amount, extent or validity of the claim
       [X None. If 'None" is checked, the rest of § 4(c) need not be completed.


         (1) Allowed secured claims listed below shall be paid in full and their liens retained untilcompletion
 of payments under the plan.

            (2) If necessary, a motion, objection and/or adversary proceeding, as appropriate, will be filed to
 determine the amount, extent or validity of the allowed secured claim and the court will make its determination
 prior to the confirmation hearing.

         (3) Any amounts determined to be allowed unsecured claims will be treated either: (A) as a general
 unsecured claim under Part 5 of the Plan or (B) as a priority claim under Part 3, asdetermined by the court.

           (4) In addition to payment of the allowed secured claim, "present value" interest pursuant to ii u.s.c.
 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant inclUded a different
 interest rate or amount for "present value" interest in its proof of claim or otherwise disputes the amount provided for
 "present value" interest, the claimant must file an objection to confirmation.

          (5) upon completion of the Plan, payments made under this section satisfy the allowed secured claim and
 release the corresponding lien.

                                       Claim                        Description of               Allowed     Present                      Dollar                         Amount to
  Name of Creditor                     Number                       Secured                      Secured     Value                        Amount of                      be Paid by
                                                                    Property                     Claim       Interest                     Present                        Trustee
                                                                                                             Rate                         Value
                                                                                                                                          Interest




       § 4(d) Allowed secured claims to be paid in full that are excluded from 11 U.S.C. § 506
      1X None. If "None" is checked, the rest of § 4(d) need not be completed.

     The claims below were either (1) incurred within 910 days before the petition date and secured by a purchase
 money security interest in a motor vehicle acquired for the personal use of the debtor(s), or (2) incurred within 1
 year of the petition date and secured by a purchase money security interest in any other thing of value.

        (1) The allowed secured claims listed below shall be paid in full and their liens retained untilcompletion of
 payments under the plan.

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 § 1325(a)(5)(B)(ii) will be paid at the rate and in the amount listed below. If the claimant included a different interest
 rate or amount for "present value" interest in its proof of claim, the court will determine the present value interest
 rate and amount at the confirmation hearing.

                                       Claim                        Description of               Allowed   Present                      Dollar Amount                    Amount to
  Name of Creditor                     Number                       Secured                      Secured   Value                        of Present                       be Paid by
                                                                    Property                     Claim     Interest                     Value Interest                   Trustee
                                                                                                           Rate
                                                                                     _________
                                                                                                                      _______________
                                                                                                                                                         _____________
                            ________
                                                _________________
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                        § 4(e) Surrender
                         IX None. If 'None" is checked, the rest of 4(e) need not be completed.

             (1) Debtor elects to surrender the secured property listed below that secures the creditor's claim.
             (2) The automatic stay under 11 U.S.C. § 362(a) and 1301 (a) with respect to the secured property
 terminates upon confirmation of the Plan.
             (3) The Trustee shall make no payments to the creditors listed below on their secured claims.

                    Creditor                                               Claim Number                          Secured Property




                        § 4(f) Loan Modification
                          0
                               None, If   None                 is checked, the rest of                    4(f) need not be completed.
                           (1) Debtor shall pursue a loan modification directly with                        or its successor in interest or
                    its current servicer ("Mortgage Lender"), in an effort to bring the loan current and resolve the secured arrearage
                    claim
                           (2) If the modification is not approved by                (date), Debtor shall either (A) fi!e an amended
                    Plan to otherwise provide for the allowed claim of the Mortgage Lender; or (B) Mortgage Lender may seekrelief
                    from the automatic stay with regard to the collateral and Debtor will not oppose it.




                        § 5(a) Separately classified allowed unsecured non -priority claims
                          0    None. If "None" is checked, the rest of § 5(a) need not be completed.

                                                                                                Basis for Separate
                    Creditor                               Claim Number                         Classification                              Treatment   Amount to be
                                                                                                                                                        Paid by Trustee
                                          ______________
                                                                            _________________
                                                                                                                     ____________________
  _______________
                        § 5(b) Timely filed unsecured non -priority claims
            (1) Liquidation Test (check one box)
                o All Debtor(s) property is claimed as exempt.
                E( Debtor(s) has non-exempt property valued at $1478.11 for purposes of 1325(a)(4) and plan
 provides for distribution of $1478.11             to allowed priority and unsecured general creditors.

                                (2) Funding: § 5(b) claims to be paid as follows (check one box):
                                  OX Prorata
                                  0100%
                                  o Other
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       LX None. If "None" is checked, the rest of § 6 need not be completed.

  Creditor                        Claim Number       Nature of              Treatment by Debtor Pursuant to §365(b)
                                                     Contract or
                                                     Lease




      § 7(a) General principles applicable to the Plan
          (1) Vesting of Property of the Estate (check one box)
                   EX Upon
    rmation

                       Upon discharge

          (2) Subject to Bankruptcy Rule 3012 and 11 U.S.C. §1322(a)(4), the amount of a creditor's claim listed inits
 proof of claim controls over any contrary amounts listed in Parts 3, 4 or 5 of the Plan..

          (3) Post -petition contractual payments under § 1 322(b)(5) and adequate protection payments under §
 1326(a)(1)(B),(C) shall be disbursed to the creditors by the debtor directly. All other disbursements tocreditors
 shall be made by the Trustee.

          (4) If Debtor is successful in obtaining a recovery in a personal injury or other litigation in which Debtor is
 the plaintiff, before the completion of plan payments, any such recovery in excess of any applicable exemption will
 be paid to the Trustee as a special Plan payment to the extent necessary to pay priority and general unsecured
 creditors, or as agreed by the Debtor and the Trustee and approved by the court.

     § 7(b) Affirmative duties on holders of claims secured by a security interest in debtor's
 principal residence

         (1) Apply the payments received from the Trustee on the pre -petition arrearage, if any, only to such
 arrearage.

          (2) Apply the post -petition monthly mortgage payments made by the Debtor to the post-petition mortgage
 obligations as provided for by the terms of the underlying mortgage note.

          (3) Treat the pre -petition arrearage as contractually current upon confirmation for the Plan for the sole
 purpose of precluding the imposition of late payment charges or other default-related fees and services based on
 the pre-petition default or default(s). Late charges may be assessed on post-petition payments as provided by the
 terms of the mortgage and note.

          (4) If a secured creditor with a security interest in the Debtor's property sent regular statements to the
 Debtor pre -petition, and the Debtor provides for payments of that claim directly to the creditor in the Plan, the holder
 of the claims shall resume sending customary monthly statements.

          (5) If a secured creditor with a security interest in the Debtor's property provided the Debtor with coupon
 books for payments prior to the filing of the petition, upon request, the creditor shall forward post-petition coupon
 book(s) to the Debtor after this case has been filed.

          (6) Debtor waives any violation of stay claim arising from the sending of statements and coupon books as
 set forth above.
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      § 7(c) Sale of Real Property
        IX None. If "None" is checked, the rest of § 7(c) need not be completed.

         (1) Closing for the sale of                                  (the "Real Property") shall be completed
  within     months of the commencement of this bankruptcy case (the "Sale Deadline"). Unless otherwise
  agreed by the parties or provided by the Court, each allowed claim secured by the Real Property will be paidin
  full under4(b)(1) ofthe Plan atthe closing ("Closing Date").

          (2) The Real Property will be marketed for sale in the following manner and on the following terms:




          (3) Confirmation of this Plan shall constitute an order authorizing the
                                                                                   D4tor  to pay at settlement all
  customary closing expenses and all liens and encumbrances, including all § 4(b) claims, as may be necessary to
  convey good and marketable title to the purchaser. However, nothing in this Plan shall preclude the Debtor from
  seeking court approval of the sale pursuant to 11 U.S.C. §363, either prior to or after confirmation of the Plan, if,
  in the Debtor's judgment, such approval is necessary or in order to convey insurable title or is otherwise
  reasonably necessary under the circumstances to implement this Plan.

         (4) At the Closing, it is estimated that the amount of no less than $                   shall be made
  payable to the Trustee.

         (5) Debtor shall provide the Trustee with a copy of the closing settlement sheet within 24 hours ofthe
  Closing Date.

         (6) In the event that a sale of the Real Property has not been consummaed by the expiration of the Sale
  Deadline:




 The order of distribution of Plan payments will be as follows:

       Level 1: Trustee Commissions*
       Level 2: Domestic Support Obligations
       Level 3: Adequate Protection Payments
       Level 4: Debtor's attorney's fees
       Level 5: Priority claims, pro rata
       Level 6: Secured claims, pro rata
       Level 7: Specially classified unsecured claims
       Level 8: General unsecured claims
       Level 9: Untimely filed general unsecured non -priority claims to which debtdr has not objected

 *percentage fees payable to the standing trustee will be paid at the rate fixed by the United States Trustee
 not to exceed ten (10) percent.
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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA

        IN RE: HOMER R. DANEY                         :       CASE NO.: 22 -13306 -pmm


                                         Debtor       :       CHAPTER 13

                                     CERTIFICATE OF SERVICE

         I, John R. K. Solt, Esquire, attorney for Debtor, do hereby certify that on December 5,
 2023, I served a copy of the Debtor's Third Amended Chapter 13 Plan (Doc 59) upon the
 following individuals and entities at the addresses listed below by electronic mail through the
 CM/ECF system, and by first class mail on the creditors on the attached mailing list:

 United States Trustee USTPRegion03.PH.ECFusdoj.gov
                        -




 SCOTT F. WATERMAN- ECFMail(ReadingCh13.com

 Michael Patrick Farrington mfarringtonkmllawgroup.com
                               -




  for the Bank of New York Mellon Trust Company, NA

 Brian Craig Nicholas   -
                            bnicholas(kmllawgroup.com

  for the Bank of New York Mellon Trust Company, NA




                                                  JOHN R. K. SOLT, P.C.

                                                    By: Is! John R. K. Solt
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 Pennsylvania Dept. of Revenue
 Bankruptcy Division
 P.O. Box 65250
 Harrisburg, PA 17128-0946
